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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


DENNIS SPURLING,
             Plaintiff,
              v.                                Civil Action No. 4:22-cv-01794

CINDY EILEEN WRIGHT AND                         MEMORANDUM IN SUPPORT OF
JOHNATHAN E. DAVIS                              MOTION FOR LEAVE TO FILE
                                                EXHIBITS UNDER SEAL
                    Defendant.

         NOW INTO COURT comes undersigned counsels who moves for leave of

   court to file exhibits under seal pursuant to the following:

                   “Parties must file a Motion for Leave to File Under Seal and
                   obtain leave of court to file a Sealed Document or a Sealed
                   Motion, unless the document is a responsive filing to a motion
                   or document already filed under seal. See Section XV,
                   Administrative Policy Governing Electronic Filing and Service.

         In addition to the courts instructions per the August 3, 2022 email from

   A.Rivera. Attachment 1.

         Attached please find Exhibits 3, 5, 6, 7, 8, 22, 25, and 29. These Exhibits are

   comprised of color Photographs that depict Plaintiff's family Members in public and

   private settings. Said exhibits are part of a “Responsive filing to Defendant’s Motion

   to Dismiss at Dk. Pos. 36 and Dk. Pos 37. Under normal filing rules said exhibits

   would have been filed contemporaneously with Plaintiff's Memorandum in
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Opposition to Defendant's Motion to Dismiss at Dk Pos. 44 and DK Pos. 45.

      Said photographs comport with United States District Court Southern District

of Texas Administrative Procedures for Electronic Filing in Civil and Criminal

Cases at https://www.txs.uscourts.gov/sites/txs/files/admcvcrproc.pdf     However

considering this courts recent Order at Dk Pos. 40, Sealing the record at Dk Pos. 36

& 37 and harsh rebuke of Defense counsel and warning to all parties.

      WHEREFORE, Plaintiff ask permission to file Exhibits 3, 5, 6, 7, 8, 22, 25,

and 29 under seal.


                                      Respectfully submitted,

                                      DENNIS SPURLING PLLC
                                      ATTORNEYS AT LAW & FRIENDS

                                           /s/Dennis D. Spurling
                                      By ______________________________
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